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   IT IS ORDERED as set forth below:



   Date: February 25, 2016
                                                       _________________________________

                                                                 Paul W. Bonapfel
                                                           U.S. Bankruptcy Court Judge
  _______________________________________________________________


                        UNITED STATES BANKRUPTCY COURT
                         NORTHERN DISTRICT OF GEORGIA
                                ATLANTA DIVISION

IN RE:                                 )        CHAPTER 7
                                       )
HP/SUPERIOR, INC.,                     )        CASE NO. 14-71797-PWB
                                       )
            Debtor.                    )
_______________________________________)___________________________________


                                      CONSENT ORDER

       THIS MATTER is before the Court on a Motion for Allowance and Payment of

Administrative Expense Claim [Doc. No. 184] (the “Motion”) filed by CSE Mortgage LLC

("CSE"), which came on for hearing on February 23, 2016 at 10:00 a.m. (the “Hearing”) after

due and proper notice. The Chapter 7 trustee of this bankruptcy estate and the Chapter 7 trustee

for the bankruptcy estate of Superior Healthcare Investors, Inc. ("SHI") having consented to

entry of this order and no other party in interest having appeared at the Hearing in opposition to

the Motion and no other opposition or response to the Motion having been filed, IT IS HEREBY

       ORDERED that the Motion is GRANTED as set forth below. It is further
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          ORDERED that the bankruptcy estate of SHI (Chapter 7 Case No. 15-50439-PWB) shall

have an allowed Chapter 11 administrative expense claim for post-petition, pre-rejection rent,

totaling $429,778.80, plus post-petition real property taxes in the amount of $34,201.03. It is

further

          ORDERED that the foregoing Chapter 11 administrative expense claim of the SHI

bankruptcy estate shall be subordinate to all Chapter 7 administrative expenses of this

bankruptcy estate and will be paid pro rata with all other Chapter 11 administrative expense

claims. It is further

          ORDERED that any and all funds disbursed in this case in payment of the foregoing

allowed Chapter 11 administrative expense claim of the SHI bankruptcy estate shall be paid

directly to the Chapter 7 trustee for the bankruptcy estate of SHI. It is further

          ORDERED that CSE's interest in the funds, if any, to be disbursed on account of the

foregoing Chapter 11 administrative expense claim (as a secured creditor, assignee of the

underlying lease, or otherwise) shall be reserved for later determination by the Court in SHI's

bankruptcy case (Case No. 15-50439-PWB). It is further

          ORDERED that this Court shall retain jurisdiction over any and all matters arising from

or related to the interpretation and implementation of this Order.



                                      ##END OF ORDER##
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Prepared and presented by:                   Consented to by:

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In addition, the Order should be served on all parties on the mailing matrix in this case.
